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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
v.                                               §            Case Number: 3:19-CR-00083-M
                                                 §
RUEL M. HAMILTON (1),                            §
                                                 §
       Defendant.                                §
                                                 §

                                             ORDER

       The Court’s Order setting trial and establishing pretrial deadlines (ECF No. 465) is

VACATED in light of the Court’s oral pronouncement of today and the Defendant’s

announcement of his intention to appeal after the Court enters an Order reflecting its ruling.

       SO ORDERED.

       October 24, 2023.


                                              BARBARA M. G. LYNN
                                              SENIOR UNITED STATES DISTRICT JUDGE
